Case 3:20-cv-01627-BEN-AGS Document 30 Filed 06/30/21 PageID.168 Page 1 of 1



     CENTER FOR DISABILITY ACCESS
 1   Dennis Price, SBN 279082
     Amanda Lockhart Seabock, SBN 289900
 2   8033 Linda Vista Road, Suite 200
     San Diego, CA 92111
 3   (858) 375-7385; (888) 422-5191 fax
     amandas@potterhandy.com
 4
     Attorneys for Plaintiff, CHRIS LANGER
 5
 6                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
 7
     CHRIS LANGER,                                   )   Case No.: 3:20-cv-01627-BEN-AGS
 8                                                   )
             Plaintiff,                              )
 9                                                   )   NOTICE OF SETTLEMENT AND
       v.                                            )   REQUEST TO VACATE ALL
10                                                   )   CURRENTLY SET DATES
     Honey Baked Ham, Inc.; and Does 1-10,           )
11                                                   )
             Defendants,
12                                                   )
                                                     )
13                                                   )
                                                     )
14                                                   )
                                                     )
15
16          The plaintiff hereby notifies the court that a global settlement has been reached in
17   the above-captioned case and the parties would like to avoid any additional expense, and
18   to further the interests of judicial economy.
19          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
20   dates with the expectation that the Joint Motion for Dismissal with prejudice as to all
21   parties will be filed within 60 days.
22
                                             CENTER FOR DISABILITY ACCESS
23
24   Dated: June 30, 2021              By: /s/Amanda Lockhart Seabock
25                                           Amanda Lockhart Seabock
                                             Attorney for Plaintiff
26
27
28


     Notice of Settlement            -1-                      3:20-cv-01627-BEN-AGS
